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October 30, 2018
BY ECF

Honorable Loretta A. Preska
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street

New York, NY 10007

Re: Brens. et al. v. Morelia Mexican Rest. Inc., et al, 1:16-cv-07073
Your Honor,

This firm represents Defendants in the above-referenced matter. As we did last time, we
write in opposition to Plaintiff's continued requests for extensions of this case.

While we may be sympathetic to Mr. Androphy’s conflict of schedule, tomorrow’s
conference was scheduled with several weeks of anticipation and we are also aware that Mr.
Androphy is not the only member of his firm that can make an appearance in an FLSA case.

A more serious concern, however, is that we have not made any significant progress with
respect to the settlement agreement, because we are still nitpicking over minor points, and we
have a growing concern that this strategy is being employed as a delay tactic because counsel
cannot obtain the Plaintiff's signature.

Thus, rather than continue to waste judicial time and resources, we respectfully request
that the Court deny Mr. Androphy’s request for yet another extension and require the Plaintiff to
appear in court to resolve this matter. In the alternative, we respectfully submit that this matter
must be dismissed.

We thank the Court for its time and attention to this case.

Respectfully Submitted

 
 
   

Martin. Re :
Counsel for Defendants
Ce: Joshua 8. Androphy, Esq.
